




Dismissed and Memorandum Opinion filed June 29, 2006








Dismissed
and Memorandum Opinion filed June 29, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00433-CV

____________

&nbsp;

RAMCO OIL &amp; GAS, LTD. and RAMCO
ENERGY PLC, Appellants

&nbsp;

V.

&nbsp;

ANGLO DUTCH (TENGE) L.L.C. and
ANGLO‑DUTCH PETROLEUM INTERNATIONAL, INC., Appellees

&nbsp;

&nbsp;



&nbsp;

On Appeal from the 61st District
Court

Harris County, Texas

Trial Court Cause No. 00‑22588

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a turnover order signed April 18, 2006, and amended by nunc pro
tunc order signed April 20, 2006.&nbsp; In light of this court=s disposition of the underlying case,
the issues concerning the turnover order have been rendered moot.&nbsp; See Ramco
Oil &amp; Gas, Ltd. v. Anglo-Dutch (Tenge) L.L.C., No. 14-04-00433-CV (Tex.
App.CHouston [14th Dist.] June 6, 2006, no
pet. h.).&nbsp; On June 22, 2006, appellants filed an unopposed motion to dismiss
the appeal.&nbsp; See Tex. R. App. P.
42.1.&nbsp; The motion is granted.








Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed June
29, 2006.

Panel consists of Chief Justice Hedges and Justices Yates and Guzman. 





